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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                        CRIMINAL MINUTES - GENERAL	

	
	


    Case No.      LA CR17-00206 JAK                                                         Date     September 27, 2018


    Present: The Honorable    John A. Kronstadt, United States District Judge

    Interpreter     N/A

            Andrea Keifer                        Alex Joko                                         Jenny Wang
            Deputy Clerk                Court Reporter/Recorder                         Assistant U.S. Attorney


          U.S.A. v. Defendant(s):        Present Cust. Bond          Attorneys for Defendants: Present App. Ret.

Trevon Maurice Franklin                    Not               X      Summer Lacey                           X     X


    Proceedings:      SENTENCING HEARING (Not Held; Continued)

The sentencing hearing is not held. Defendant is not present. Defense counsel reports that Defendant lives in
Fresno and missed the bus this morning. Accordingly, she requests the Court to continue the sentencing hearing
to October 4, 2018. The Court inquires as to the status of Defendant’s case pending in the Superior Court of
Fresno (the “State Action”). Defense counsel does not have any additional information but believes a hearing is
scheduled in October 2018, in the State Action. Government counsel objects to a continuance of the sentencing
hearing. Government counsel contends that Defendant’s previous failure to appear and failure to adhere to the
terms of his pretrial release warrants the issuance of a bench warrant. The Court, having taken into consideration
the parties’ respective positions, orders the issuance of a bench warrant. The Court notes the history of
Defendant’s failure to appear and adhere to the Court’s Orders. Moreover, on September 10, 2018, Defendant
was advised that a bench warrant would issue if he failed to appear at the Sentencing Hearing. Dkt. 46. The
Court will permit Defendant the opportunity to self-surrender by 3:00 pm on September 28, 2018, at the Roybal
Federal Building, located at: 255 E. Temple Street, Los Angeles, California. Defense counsel shall contact the
Clerk by 5:00 pm today to inform her of whether Defendant intends to self-surrender by the foregoing date and
time. If Defendant fails to self-surrender, a bench warrant will issue for his arrest. The sentencing hearing will be
rescheduled for the first Thursday after the date Defendant is taken into custody.

IT IS SO ORDERED.
                                                                                                           :    07

                                                                 Initials of Deputy Clerk    ak
cc:




	
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